    Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 1 of 36 PageID #:559
                                                                                                         cs
                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PNC Bank, National Association, successor in                 )
interest by merger to National City Bank, successor          )
in interest by merger to MidAmerica Bank, FSB                )
                                                             )    No 13 cv 07271
                                     Plaintiff.              )
                                                             )    Property Address:
                      vs.                                    )    124-136 S. Randall Road
                                                             )    Algonquin, Illinois 60102
Randall Road Joint Venture, an Illinois general              )
Partnership; Chicago Title Land Trust Company,               )    Assigned Judge: Robert M. Dow, Jr.
successor trustee to Amcore Investment Group as              )    Magistrate Judge: Mary M. Rowland
Trustee Under Trust Agreement Dated December 15,             )
1993 and Known as Trust Number 3504; Jeffrey R.
Dunham; Robert R. Dunham; Power Pizza Company
d/b/a Jake's Pizza, an Illinois domestic corporation;
                                                             )
                                                             )
                                                             )
                                                                                {Ft LED
Phoenix Leasing Incorporated, a foreign cotporation;         )
                                                             )                          JUN 1 6   2014
                                                             )
                                     Defendants.              )                      THOMASG BRUTON
                                                                                CLERK, U S DISTRICTCOURT

                            THIRD REPORT OF THE RECEIVER

The Receiver, Joshua E. Joseph, herewith submits a Third Report of Receiver summarizing the
activities performed by the Receiver from April 1,2014 - May 31,2014. Pursuant to the Court
Order dated December 5, 2013, Joshua E. Joseph was appointed Receiver for the mortgaged real
estate in the above case commonly known as 124-T36 S. Randall Road, Algonquin, Illinois
60102; herein referred to as the "Property."



                            DESCRIPTION OF THE PROPERTY

Location:                    124-136 S. Randall Road, Algonquin, McHenry County,Illinois
Property Type:               Retail Strip Center
Gross Building Area:         13,850 square feet
Number of Buildings:          1

Number of Units:              7
Year Built:                  t995
Construction:                Brick and block
Land Area:                   1.38 acres
Parking:                     Approx. 55 asphalt-paved spaces
Condition:                   Average to good

Photographs of the Property are included as   Exhibit ('A"

                                                  -4-
    Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 2 of 36 PageID #:560




                        GENERAL STATUS & RECEIVER ACTIVITY

Overview

The Receiver has continued to perform routine inspections of the Property to ensure there are no
life safety issues or deferred maintenance requiring immediate action. No repair work was
needed during the current reporting period. Property services including utilities and landscaping
have been maintained. The Receiver has also maintained communication with the tenants at the
Property and the parties to this case.

Tenant   - New Clique, LLC
In the Receiver's Second Report, the Court approved a termination agreement whereby                the
tenant would  pay  an early termination  fee of $7,359.00  to the Receiver   to be released from their
lease. Subsequently, the tenant has notified the Receiver that they will be filing for bankuptcy
and will not pay the early termination fee. The Receiver is still attempting to collect the fee and
will pursue legal action against the tenant and its guarantors if necessary.

Tenant   -   Vogue Cleaners   & Crystul Lake Shoe Repair

The Receiver issued 30 day notices to all known tenants at the units occupied by Vogue Cleaners
and the Shoe Repair store. Vogue Cleaners has expressed a desire to stay in the property for a
long term lease. While the Receiver and Vogue Cleaners investigate a possible extension andlor
modification of the existing lease, the Receiver requests that the letter agreement attached hereto
as Exhibit o'8" be approved by this court. In the event that no long term agreement is reached,
the Receiver will take action to have the space vacated by the end of July.

Tenant - Atkinson Eye Care

Atkinson Eye Care vacated their space on May 12,2014. They were month-to-month and served
the Receiver prior notice of their intent to vacate. Their rent was paid in full through the date
they vacated the space. The Receiver subsequently changed the lock to the space and inspected
the unit. The space is being marketed for lease and there are interested parties for it.

Marketing

The order appointing Receiver grants the Receiver authority to market the Property for sale. The
Receiver has obtained seven (7) offers to purchase the Property which have been disclosed to the
Plaintiff and Defendant's counsel via e-mail. There are also prospective tenants interested in
leasing vacant units at the Property. The Receiver will present any proposed leases for approval
if terms are agreed to with a prospective tenant.

                                      RECEIVER'S BOND

The Order Appointing Receiver required the posting of a $75,000 bond. The Receiver posted the
bond on December 10,2013, a copy of which is attached to this Report as Exhibit ooC".


                                                -5-
    Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 3 of 36 PageID #:561




                                           INSURANCE

 The Receiver has verified that the Plaintiff has placed adequate property insurance coverage on
 the Property. A copy of the insurance certificate covering the term of 3ll5l14 - 3ll5l15 is
 attached as Exhibit'0D".



                                       PROPERTY TAXES

The Property is located in McHenry County. There is one (1) PIN associated with the Property:
19-30-400-008. The 2012 taxes (payable 2013) totaled $79,679.52 and have been paid in full.
The first installment of 2013 taxes (payable 2014) totaled $40,726,66 and was paid by the
Receiver on June 2,2014.

A copy of the most recent tax bill from the McHenry County Treasurer website is                   attached as
Exhibit 6'E".

                           BANKING AND FINANCIAL ACTIVITY

The Receiver has established a bank account to deposit rental income and pay operating
expenses for the term of the receivership. From April 1 through May 31,2014, total receipts
were $20,848.32 and total expenses were $51,555.78. The expenses for this period included the
first installment of real estate taxes totaling$40,726.66. The net operating income for the period
was -$30,707.46, The reconciled cash balance on hand as of 5/3 lll4 was $7,876.08. Financial
statements including a current rent roll, income and expense statement, bank reconciliations,
receipt register, check register, and aged delinquency report, are included as Exhibit (0F".

                                          LITIGATION

The Receiver is not aware of any litigation involving the Property other than the subject
foreclosure case.

                                      RECEIVER'S FEES

A detailed billing statement for the Receiver's fees is attached                  (0G".
                                                                   as   Exhibit

                                        DRAFT ORDER

A draft order approving the Third Report of the Receiver is attached       as   Exhib-it   "H".
                                     TABLE OF EXHIBITS


EXHIBIT A - PHOTOGRAPHS
EXHIBIT B _ TENANT RENT LETTER AGREEMENT

                                               -6-
    Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 4 of 36 PageID #:562




EXHIBIT C _ BOND
EXHIBIT D _ INSURANCE
EXHIBIT E _ REAL ESTATE TAXES
EXHIBIT F _ FINANCIAL ACTIVITY & RENT ROLL
EXHIBIT G _ RECEIVER'S FEES
EXHIBIT H _ DRAFT ORDER




                          Contact Information for the Receiver

                                      Joshua E. Joseph
                            707 Skokie Boulevard, Suite 580
                                   Northbrook,lL 60062
                                   (847) 770-6262Phone
                            jj oseph@ frontlinerepartners. com


Respectfully submitted,




                                          -7   -
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 5 of 36 PageID #:563




               EXHIBIT A
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 6 of 36 PageID #:564
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 7 of 36 PageID #:565




               EXHIBIT B
              Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 8 of 36 PageID #:566



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                                                                                                                                                        (I:VIN V. HIj,\T

                                                                                                                                          Direct: 3l 2.37 / .77e4
                                                                                                                                             Faxi 31 2.641 .6959
                                                                                                                                     kh   u   ntt,D5 13li   l
                                                                                                                                                                gewt   n. co,'r)



                                                                            June I 1,2014

            VIA EMAIL qarol@celegal.net

            Carol Grier

                      Re:      PNC Bank v,.Ran{allBo4d doint Venture. et al.
                               Northern District of Illinois Case No. 13 cv 07271(the {(Litigationt')
                               136 S, Randall Rdo Algonquin,IL (the o'Propertyo')
                               Vogue Cleanerso Inc. (the "Tenant")
                                                  (Receiver")
                               Joshua Joseph (the
                               Lease Agreement between Tenant and Clean & Presso Inc. (the'ol,oase")


            Dear Ms. Grier:

                    As we discussed on multiple communications, the Receiver took control of the Properfy in the
           Litigation pursuant to a December 5, 2013 court order. The Receiver caused to be served a 30 Day
           Notice ("30 Day Notice") on the Tenant to terminate the Tenant's right to possession under the Lease.
           While the Tenant and the Receiver discuss alternatives to eviction, tl're Tenant wants to continue to
           occupy the Prope(y fbr the months of June and July Z0l4 for an amount of $6,000.00 per month. The
           Receiver will allow the'l"enant to remain at the Property and the Receiver will accept the $6,000.00 per
           month payment as "use & occupancy" for the use of the Properly in June and July 2014. The Receiver
           reserves the sole and exclusive right to determine whether to accept a paymefit for the use and occupancy
           of tlre Property in August 2014, or any time tlrereafter. The Receiver reseryes the right to seek unpaid
           rental payments for the periods prior to and after June and July 2014. The Tenant acknowledges that the
           Receiver has terminated the Lease based on the 30 Day Notice. Nothing contained in this letter waives
           any existing event of default under the Lease, waives the termination of the Lease, amends any terms or
           provisions of the Lease (un[ess otherwise stated above), or waives the right of the Receiver to proceed
           forward with any litigation against the Tenant following the agreed upon use and occupancy term. This
           agreement  is subject to coufi approval in the                         Litigation.      Please acknowledge            your agreement and
           acceptance of this proposal by signing below.

                                                                                           Sincerely,




            AGREED TO AND ACCEPTED BY:


            By; Vogue Cleaners
            Its:



            Sang Y. Lee                                                                    Hea R. Lee



statrt coweJ03ufS$f;t0r0td(H3'PlEflss   wrrt   M   onroe street I suite i200 I chic.so. lrtinois 60603-500t I sr z o*r oooo I   mx   312 641      6s59 I www.stahrc owen.com
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 9 of 36 PageID #:567




               EXHIBIT C
                   Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 10 of 36 PageID #:568

      --                                                                                                                                                    RANDA-2                     OP lD: EZ
 ,4CORD"                                                                                                                                                                        DATE (MM/DD/YYYY}
  \---                                              CERTIFICATE OF LIABILITY INSURANGE                                                                                            04t04t2014
    THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
    CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVEMGE AFFORDED BY THE POLICIES
    BELOW' THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUTNG INSURER(S), AUTHORTZED
    REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
    lMPoRTANT:lfthecertificateholderisanADDlTloNALlNsURED,ttrepoji
    the terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the
    certifiqate holder in lieu of such endorsement(s).
 PRODUCER
 Crandall, Dubow & Harner, lnc,                                                                 ilXilEI"' GEORGE PRATIKAKIS
                                                                                                PHONE                                                         I FAX
 3175 Commercial Ave., Ste 200                                                                       Ext):
                                                                                                (A./C. No.                                                    I talc-   ruor:
 Northbrook, lL 60062                                                                                             EoRG Ep@Tofl NS.coM
 Mike Dubow                                                                                    iiHilEss,      G

                                                                                                                      INSURER(S) AFFORDING COVERAGE                                          NAIG #

                                                                                               TNSURER A :        societv lnsurance                                                  15261
 rNsuRED Randall Road Joint Venture LLC                                                        INSURER B:
                 Frontline Real Estate Partners
                                                                                               INSURER C :
                 707 Skokie Blvd Suite 580
                 Northbrook, lL 60062                                                          INSIJRER      D:
                                                                                               INSURER E:
                                                                                               INSURER       F:
 COVERAGES                                         CERTIFICATE                                                                         REVISION
   THIS lS TO CERTIFY THAr rHE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE Ir.lSuRED NAMED ABOVE FOR
                                                                                                                     THE pOL]mEFi6E
   INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT
                                                                                                                         TO WHICH THIS
   CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSUMNCE AFFORDED BY THE POLICIES DESCRIBED HEREIN
                                                                                                          IS SUBJECT TO ALL THE TERMS,
   EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS,


          COMMERCIAL GENERAL LIABILITY

                .LA.M'-MADE   IXl o..r*                                                                                  03115t2015


                                                                                                                                           PERSONAL & ADV INJURY
      GEN'L AGGREGATE LIMIT APPLIES PER:


          'o.,.'   fl   !Lo;      l-l   ,-o.



          ANY AUTO                                                                                                                         BODILY INJURY (Per person)
          ALLowNED f_l scHeouleo
          AUTOS           I   I AUIOS                                                                                                      BODILY INJURY (Per accident)
                          I   I NON-OWNED
          HTREDAUToS      |   |   Auibi




         EMPLOYERS'LIABILITY                   Y
         PROPRIETOR/PARTNER/EXECUTIVE




                                                                                                                                      BUILDING                                          1,
                                                                                                                                      DED

DESCRIPTION   OF OPEMTIONS / LOCATIONS / VEHICLES (ACORO 101,    Additional Remarks Schedule, may be attached if more space ts required)
     FOTLOIIING ARE ADDITIONAI. INSURED WITH RESPECT TO GENERAL                                               LTABILITY,       WHEN
     IRED BY WRITTEN CONTRACT:
  .JOSHUA JOSEPH         AS RECEIVER




                                                                                               SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
               FRONTLINE REAL ESTATE PARTNERS
                                                                                               THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED                                            IN
                                                                                               ACCORDANCE WITH THE POLICY PROVISIONS.
               707 SKOKIE BLVD., SUITE 580
               NORTHBROOK, IL 60062


                                                                                                fYirdril fJ-               &rL_/
                                                                                             O'1988-20'14 ACORD CORPORATION. All rights reserved.
ACORD 25 (2014t01)                                     The ACORD name and togo are registered marks of AGORD
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 11 of 36 PageID #:569




               EXHIBIT T)
                          Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 12 of 36 PageID #:570
                     FROM THE OFFICE OF:         REAL ESTATE TAX BILL                                                                                     ASSESSED TO: AMCORE TR CO TR 3504
                     WILLIAM W. Le FEW      1ST INSTALLMENT COUPON PAYMENT
                     McHENRY COUNry TREASURER
                                                                                                                                                                                                         PIN:     19-30-400-008



                     MAKE CHECKS PAYABLE TO: McHENRY COUNTY COLLECTOR
                                                                                                                   I   |ilil   II   ltffi ltfl il] ilil   ilfi   tilil   ilil   lllil   ilil ilil ltil
                                                                                                                                1ST INSTALLMENT FOR 201
                                                    **DUPLICATE**                                                                           DUE           BY      061041201

                                                                                                                                                                         '-:=Hl
                     CENTERVILLE PROP
                     23BO ESPLANADE DR
                                                                                                           1-2013                                                TOTAL PAID
                     STE 3OO
                     ALGONQUTN tL 60102-5451


      PAID    BY:    CHECK   _       CASH       _       MAL   _    CREDIT CARD     _                                                               I   930400008000407 266617




                    FROM THE OFFICE OF:          REAL ESTATE TAX BILL                                                                                  ASSESSED TO: AMCORE TR CO TR 3504
                    WILLIAM W. Le FEW       2ND INSTALLMENT COUPON PAYMENT                                                                                                                           PIN:        19-30-400-008
                    McH ENRY COUNTY TREASURER


                    MAKE CHECKS PAYABLE TO: McHENRY GOUNTY COLLECTOR
                                                                                                                               2ND INSTALLMENT FOR 201
                                                    **DUPLICATE**                                                                          DUE         BY 09t04t20

                    CENTERVILLE PROP
                    23BO ESPLANADE DR
                    STE   3OO
                                                                                                           2-2013'":Hl                                       TOTAL PAID
                                                                                                                                                                                                     Total Due
                                                                                                                                                                                                     Due by 0910412014
                    ALGONQUTN            tL 60102-5451

                                                                                                                                                  I 93     04000080 00407 266629
      PAID    BY:    CHECK_ CASH_ MA|L_ CREDTTCARD_

                                                Rate Percent TaxThisYear TaxLastYear
MCHENRY COUNTY                            0.945481        8.83      $7,196.32     $7,322.15
                                                                                                                                                                                                                     2,283,610
I\,,ICHENRY COUNTY              PENSION 0.150564          1.41      $1,145.99       $953.67
                                                                                                           Y COUNTY 2013 REAL ESTATE TAX BILL                                                             S/A Value
                                                                                                         DESCRIPTION:                                                                                                  81 1,350
I\,,ICHENRY CO CONSV                      0.274794        2.57      $2,091.53     $2,061.73
                                                                                                 DOC 93R0081755                                                                                           S/A   Multiplier                X
COLLEGE DISTRICT 509 ELGIN                0.503395        4.70      $3,831.48     $4,s67.'14     Lr2                                                                                                                      .9381
COLLEGE OISTRICT 509 ELGIN      PENSION 0.006692          0.06         $50.93        $61.72      KAPERS WEST SUB                                                                                          S/A Equalized Value
scHooL DtsT   300                         6.1   35676    57.33    $46,700.28    $45,24',1.54                                                                                                                          761,127
SCHOOL DIST   3OO               PENSTON 0.216237          2.O2      $1,645.84     $1,341.31                  TO:                                                                                         Brd. of Review Value
ALG LITH FIRE DIST                        0.830296        7.76      $6,319.61     $6,1   34.20 AMCORE TR CO TR 3504                                                                                                   761,127
ALG LITH FIRE DIST              PENSTON 0.106'103         0.99       $807.58        $736.49 SITE ADDRESS:
                                                                                                                                                                                                         Brd. of Review    l.4ulilplier   X
                                                                                                                                                                                                                       1.0000
ALGONQUIN LIBRARY                         0.547744        5.12      $4,169.02     $3,958.07
                                                                                                                                                                                                         Brd. of Review EQ Value
                                                                                                 124 S   MNDALL RD
ALGONQUIN LIBRARY               PENSTON 0.039053          0.36        $297.25      $399.1    1
                                                                                                 ALGONOUIN, IL 60102                                                                                                  761,127
ALGONQUIN TOWNSHIP                        0.082064        0.77
ALGONQN TWP RD & BR                       0.173779        1.62
                                                                     $624.61
                                                                   $1,322.68
                                                                                   $616.29
                                                                                 $'1,285.78
                                                                                                                                                                                                                     '0
                                                                                                                                                                                                         Home lmorov.Ay'et ExemDtions -

ALGONQN TWP RD & BR             PENSTON 0.008933         0.08         $67.99         $66.10      lf paid after due date, pay amount below which includes 1.5% per                                        State   Multiplier               X
ALGONQUIN VILLAGE                         0.403s6s       3.77      $3,074.72                     month penalty: FTRST TNSTALLMENT SECOND TNSTALLMENT                                                                   1.0000
                                                                                 $3,1 93.31
ALGONOUIN VILLAGE               PENSTON 0.27689,1        2.59      $2,107.49     $1,940.91
                                                                                                  06/05 -07/04             41,337.56                                                                     State Equalized       Value      =
                                                                                                  07/05 -08/04              41,948.46                                                                                 761,127
                                                                                                  08/05 -09/04             42,559.36                                                                     Farmland and Bldgs.      Value   +
                                                                                                  09/05 -10/04                       43,170.26 4.t,337.56                                                                  0
                                                                                                  10105 -10t24                       43,781,16 41.958.46                                                 Total Amt. Prior to Exemotions =
                                                                                                                                                                                                                      761,127
                                                                                                                                                                                                         Annual Homestead ExemDtions.
                                                                                                                                                                                                                           0
                                                                                                                                                                                                         Sr. Freeze Abated Amount
                                                                                                                                                                                                                           0
                                                                                                                                                                                                         Elderly Homestead Exemption .
                                                                                                                                                                                                                           0
                                                                                                                                                                                                         Disabled Vet Homestead Ex
                                                                                                                                                                                                                           U
                                                                                                                                                                                                         Oisabled PeEon Exemption
                                                                                                                                                                                                                           0
                                                                                                                                                                                                         Returning Veteran Exemption .
                                                                                                                                                                                                                         0
                                                                                                                                                                                                         Net Taxable   Arcunt
                                                                                                                                                                                                                     761,127
                                                                                                                                                                                                         Local Tax   Rate                 X
                                                                                                                                                                                                                  10.701671
                                                                                                                                                                                                         Total Curent Year Tax Due =

                                Totals   10.701671                $81,453.32    $79,679.52                                                                                                                       $81,453.32
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 13 of 36 PageID #:571




                EXHIBIT E
               Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 14 of 36 PageID #:572

1.24-136 S Randall Rd, Algonquin (124-136r)                                                                 Page     1



lncome Statement
Period = Apr 2014-May 2014
Book = Cash ; Tree = ysi_is
                                              Period to Date      %        Year to Date

 OPERATING INCOME

 RENTAL REVENUE
  Rent                                            13,615.00     0.00         43,084.00                        0.00
  Prepaid Rent                                    -8 645 68     000             3i6   1q                      no0
 TOTAL RENTAL REVENUE                              4,969.32     0.00         43,420.19                        0.00

 RECOVERABLE INCOME
  Estimated CAM                                    4,882.00     0.00         '10,333.00                       0.00
  Estimated Real Estate Taxes                     10,997.00     0.00         23.216.00                        0.00
 TOTAL RECOVERABLE INCOME                         15,879.00     0.00         33,549.00                        0.00

OTHER INCOME
 Misc lncome                                           0.00     0.00             68.49                        000
TOTAL OTHER INCOME                                     0.00     0.00             68.49                        0.00

TOTAT INCOME                                     20,u8.32       0.00         77,037.68                        0,00




OPEMTING EXPENSES

NON RECOVEMBLE OPERATING EXPENSES
 Locks & Keys R&M                                   275.26     0.00            275.26                         0.00
 Tenant Space R&M                                     0.00     0.00            281.46                         000
TOTAL NON.RECOVERABLE R&M                           275.26     0.00            556,72                         0.00

NON-RECOVERABLE UTILITIES
 Gas                                                548.85     0.00           1,867.89                        0.00
 Electricity                                        't25.86    0.00            351.06                         0.00
TOTAL NON-RECOVERABLE UTILITIES                     674.71     0.00          2,218.95                         0.00

NON-RECOVERABLE G&A
 Legal Fees                                       2,368.00     0.00          2,368.00                         0.00
 Other Professional Fees                          5,161.29     0.00          8,994.35                         0.00
 General & Admin Expense                              0.00     0.00            174.16                         0.00
 Permit & License                                     0.00     0.00             40.00                         0.00
 Receiver Bond                                        0.00     0.00            750.00                         0.00
 Bank Fees                                           82.77     0.00            164.s3                         000
TOTAL NON.RECOVERABLE         G&A                 7,612.06                  12,491.04                         0.00

TOTAL NON RECOVERABLE EXPENSES                    8,562.03     0.00         15,266.71                        0.00

RECOVEMBLE EXPENSES

REPAIRS & MAINTENANCE
 Landscaping                                        265.2s     0.00            265.25                        0.00
 Snow Removal                                         0.00     0.00          5,528.75                        0.00
 Trash Removal                                        0.00     0.00          1,829.44                        0.00
 Plumbing R&M                                         0.00     0.00            684.60                        0.00
 Miscellaneous R&M                                    0.00     000             175 40                        000
TOTAL REPAIRS & MAINTENANCE                         265.25     0.00          8,483.44                        0.00

UTILITIES
 Electricity                                        136.66     0.00            547.24                        0.00
 Water/Sewer                                        445.17     0.00          1.A27.54                        000
TOTAL UTILITIES                                     581.83     0.00          2,374.78                        0.00

PROPERTY TAXES
 Real Estate Taxes                               40,726.66     0.00         40,726.66                        0.00
 Convenience Fees                                     3.00     0.00              300                         ono
TOTAL PROPERTY TAXES                             40,729.66                  40,729.66                        0.00

INSURANCE
 lnsurance                                        1,386.77     0.00          1,386.77                        0.00

                                                                                           Tuesday, June 10, 2014
                                                                                                        12:06 PM
            Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 15 of 36 PageID #:573


124-136 S Randall Rd, Algonquin (124-136r)
                                                                                                          Page 2
lncome Statement
Period = Apr 2014-May 2014
Book = Cash ; Tree = ysi_is

-iil;ffi;:oiffi***                           felio=d-lo._,p_g!e
                                                                    o/o
                                                                          Yearto Date                            %
                                                        0.00      0.00         750 00                        nnn
TOTAL INSURANCE                                     1,386.77      0.00       2,136.77

G&A RECOVERABLE EXPENSES
 Postage                                                30.24     0.00          30.24                        0.00
TOTAL G&A RECOVERABLE EXPENSES                          30.24     0.00          30.24                        0.00

TOTAL RECOVEMBLE EXPENSES                         42,993.75       0.00      53,754.89                       0.00
TOTAL OPERATING EXPENSES                          51,555.78       0.00      69,021.60                       0.00
NETOPEMTING INCOME                              €0,707.46         0.00       8,016.08                       iirii;
NET TNCOME (LOSS)                               -30,707,46                  si,ido6'*-                      0.00




                                                                                        Tuesday, June 10, 2014
                                                                                                     12:06 PM
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 16 of 36 PageID #:574




                                                                                                                      0611012014
                                         124-136 S Randall Rd              ProPefi
                                           Bank Reconciliation Report
                                                      a5l31l2a14
                                                        4828440747


                                                                                                 48,605.74
 Balance Per Bank Statement ae of 05131i2014
                                                                                                 {0,729.66
 Plus/Minus;       Otherltem$

                                        Reconciled Bank Balance                                                     ?,676,08




                                                                                                  ?,875.08
 Balance per GL as of 05/3'U2014

                                        Reconciled Balance Per GIL




                                                                                                                              0.00
 Difference




 Cloared ltem$ I


 Cleared Checks

                                                                                                               Date Cleared
 Date                Tran#
                                                                                                     ?76.48         a5131t2014
                              1$zs              comed - Commonwealth Edison
 04t26t2014
                                                                                                     548.85         0s/31/2014
 04t2512014                   1030              nicor - Nicor Gas Co.
                                                                                                    5,161.29        0513112414
 05/051201 4                  1   031           fronreal - Frontline Real Estate Partners' LLC
                                                polsinel - Potsinelli PC                             234.00         o5t31lz014
 05i05t2014                   1032
                                                                                                     {p,5.17        0513112014
 o5to5l2a14                   1033              villalgo - Viilage olAlgonquin
                                                                                                     265.25         05/31/2014
 05n612014                    1034              elitelawn - Etite Lawncare
                                                society - Society insuran@
                                                                                                     349.15         a513112014
 05t16{2014                   1035
                                                stahlcowen - Stahl Cowen CrowleyAddie LLC           2,134.00        0513112014
 0511912014                   1   036


 Total    Cleared Checks


 Cleared DePosits

                                                                                                               Date Cleared

                                                                                                   10,095.32        05t31t2014
 05/0512014                  lt
                                                                                                    3.518.00        05t31na$
 ailus12014                  18


 Total    Gleared DePosits



 Cleared Other ltems

                                                                                                               Date Cleared
 Daie                 Tran*
                                                                                                       41.97         05/31/2014
 05/31/2014            JE 18e9                   Bank Fees
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 17 of 36 PageID #:575



                               124-136 $ RandallRd ProPertY
                                Bank Reconciliation Report
                                        06t31/12014
                                         &2{t440747



 Iotal   Cleared Other ltems                                  41.s7
                         Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 18 of 36 PageID #:576


Corporate Busines{ Account Statemcnt



                                                                                                                                                 Accouiltnumbcr:                46-2844-0747

                                                                                                                                                 Page   I of2
                                           For tlre pcrio<l 0510 112014 to 05l30DDl4
                                                                                                                                                 'Numbet
                                                                                                                                                           of cnclosures: 0
                                                                                                                                                 Tax   lD Number:        XX-XXXXXXX
                                       FRONTTTNE REAL E5TATB
                                       PARTNERS tLC                                                                                              f      For Client Services:

                                           707 SKOKIE BLVD STE 580                                                                                      Call 1-800-669-1518

                                           ITORTHBROOK            rL    60062-2855                                                               m
                                                                                                                                                 E      visit   us at PNC.com/rersurY



                                                                                                                                                 ffi    Vgs11g   t0:   Treas Mgmt Client Care

                                                                                                                                                        Otc Financial Parkway
                                                                                                                                                        Locator Zi-YM2-03-1
                                                                                                                                                        K.lamazoo, MI 49009



Account Sutnmary         In   formatir:n

Batance Summary
                                                          Bcginning                         Deposits and                          Checks ard                                    Ending
                                                             tralancc                       other credi8                          other debits                                 balmce

                                                      44.448.58                            t3,613.32                             9,456.16                              48,605.74


Deposis aad Other Credits                                                                                    Checks and Other Debits
                                                               Items                             Amount      Description                                                         Iterns                        Arnount
Descdptifir
DegNix                                                             2                       13,613.32         Chocls                                                                I                    9,414.19

                                                                   0                             0.00        Retumqd Items                                                          0                          0.00
Nati0[al lrckbox
                                                                   0                             0.00        ACH Debits                                                             0                          0.00
ACH Crsdits
                                                                   0                             0.00        Funds Translbrs Out                                                    0                          0.00
I;urxls Transf.'ers [n
                                                                   0                             0.00        Trade Senices                                                          0                          0.00
Trade Services
                                                                   0                             0.00        InvesEneDts                                                            0                          0.00
Inveslments
Ze.ro Balance Transfers                                            0                             0.00        bro     Balance Transibrs                                              0                          0.0{)

                                                                   0                             0.00        Aqi[stmsnB                                                             0                          0.00
Adjustments
Other Credits                                                      0                             0.00        Other Debits                                                           I                         41.97

                                                                   2                    13,613.32            Total                                                                  9                   9,456. 16
Total

Ledger Balance
                                      Ledger balance                        Date                                lrdger   balance                              Date                             Ledger balance
Date

05ml                                  4,172.10                              05/07                               48,1 12.1    I                                0520                              49,262.]:t
                                      43,623js                              05/09                                47,878.t1                                    05m                               48,91.7t
05t02
                                                                                                                 51.396. I   I                                05/30                            ,{8,605.74
05i06                                  38,46 1.96                           05i15




Depo$its and Other Crodits

Deposits                                                                  2 ransacdons for a otal of $ 13,613.32
                                                                                                                                                                                                             Reference
Dste                                                                      Transaction
                                                              Arnount     description                                                                                                                         numbcr
posted

05107                                                   10,095.32         Deposit                                                                                                                            03541J1634

                                                                                                                                                                                                             03516593s
05/15                                                    3,518.00         DePosit


Checks and Other Debits

Checks arrd Substitute Checls                                                          I   transactions for a total of $ 9,414. I 9

Da@          Check                                         Reference      Date         Check                                        Refbrcnco          Date            Check                                 Reference
posled       number                           Arnount        number       posted       number                     Amount              number           posted          numbcr                  Amount           number

05/01         1029                            n6.48 $892,4922             05/07        1033                        445.t7          089640093           05t22           103.5                   349.15        090705297

05ro2         i030                             548.85     0w3?4649        05i09        ta32                        234.00          090658r53           05tLz           1034                    265.25        tJ9O767447

0s106         1031                           5,161,?9     096628330       05120         r036                     el34.u)           08957+7$)
                    Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 19 of 36 PageID #:577


Corporatc Business Account Stntemcnt

FRONTI-INE REAL      ESTATE                                                                Fr.rr rlre period 05l01tZ014toO5lT0fZOl.4
PARTNERS LLC
                                                                                           Accountnumber:          4$-2844-U47

                                                                                           Paye? af l,


Checks and Otlrer   Debits              - Continued
Other Debih                                      I lransaction for   a total   of$ 41.97
Dale                                             Transaction                                                                                Refercnce
posted                                 Anrount   description                                                                                  nunrber
05/30                                  41.97     CoqporateAccountAnalysisCharge                                                   00000000c[n00039716
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 20 of 36 PageID #:578




                                      124 136 Randalt Rd - Sec Dep
                                       Bank Reconciliation Report
                                              05t3'U2014
                                                 50-s0076593



 Balance Per Bank Statement as of   B$l$EAli                         7,567.00

                                   Reconciled Bank Balance
                                                                                    7,$67.00
                                                                                -

 Balance per GL as ol O5l3ll2}14
                                                                     7,567.00

                                   Reconciled Balance Per G/L
                                                                                    7,567.00




 Difference                                                                              0-00
               Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 21 of 36 PageID #:579
                                                                                -s*-
                                                                      FIRSTMERIf,
FirstMerit llank, N.A.
                                                                                Bank
295 IirstMerit L',i rcle                                                                                                                             ?agc   I ol   I

Akron Ohio 44307-235{)
                                                                                                                                                 Sl"atemeilt Peril;rl
                                                                                                                                                  May 1,2014 to
                                                                                                                                                   May 31, 2014
                                                                                                                                                 Plirnary Atcount
                                 FL RC MANAGEMENT LLC                                                                                               50 5007 6593
                                 124 1.36 S RANDALL RD PROPERlY                                                                                         Qucstions?
                                 707 SI(OKTE BLVD STE 580                                                                                             1-888-?83-r303
                                 NORTHBROOK          IL      60062


                                                                                                                                                        78745          - lL




                                                                       Dcposit Acc'.runts
      IT},ALII Y   B U StN.bSS   I'I{O                                          50 5007 6593                                                             7,561-00

  Tio{al Deposil Accounls                                                                                                                                7,567.00


II.ITALI'I'Y BUSIN EI}S I}RO                                     rL   RC MANAGEMFNT LLC
50 5007 6593                                                     124136 S I1ANDALL RD PROPEI1TY



                                                                       Accouut Surnmary
                             Ileginning l'lalairce   as   ol'May      l,zAU                                                    7,567.00

                                                 Ihere uas m activity during lhis Statement Period.

                             Iinding llalance as of May          3l,70l4                                                       7,567.00



 NOTE

 ALL CHECKS ARE LISTED AS PAID AS OF THE POSTING DATE. IN T}.IE EV€NT A CFIECK IS RETURNED, THE REVERSING ENTRY WILL
 SHOVY AS A CREDIT ON TI{E NEXT POSTING DATE.

 Failure to report discrepancies, forgeries, or alterations within     '14   days may result in forfeilrre of any claims.

 IN CASE OF ERROR$ OR QUESTIONS ABOUTYOUR ELEGTRONIG TRANSFERS

 Teiephone tlre nutrrber i;sied on Page I of this statement or write using the address listed on Page I of this statembnt as soon ai
 possible, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt. We
 must hear lrom you no later than 50 days after we sent you the FIRST slatement on which the error or problem appeared.

 {1   }   Tetl us your name and account number.
 (2) Oescribe the error or the trans{er you are unsure about, and explain as ctearly as you can                   r,vhy   you helleve there is an error or why you
     need more information"
 (3) Tell us the dollar amount of the suspectecl error.

 We will investigate your complaint and witl correet any eror promptly. For consumer accounts only, if we tske more lhan 10 bueiness
 {ays to do this, we wilt recredil your account lor lhe amount you think ie in error, so that you will have use ol the money during the time it
 takes us to complete our investigation.



                                          I'hank yoa      fitr   choosing llirstMerit $s yo$r.fitrutrciul partner.
                                                                  fl/e appreciute yoar bu$ireasff.




                                         For Deaf and ilearing Irnpairerl (T-IY/l'DD) Call l-800--572-6040
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 22 of 36 PageID #:580




                                       124-136 S Randall Rd Property                                                        ail1212014

                                         Bank Reconciliation Report
                                                    94t30t2014
                                                      462844A747



  Balance Per Bank Statement a$ of 0i1/30i2014                                                     44,448.58

  Less:             Outstanding Checks                                                                s25.33

                                     Reconciled Bank Balance                                                             43,6?,3.25




 Balance per GL as of 04/30f2014                                                                   43,623.25

                                     Reconciled Ealance Per GiL                                                         43,623.2$




 Difference                                                                                                                       0.00




Cleared ltems   :



Cleared Checks


Date                 Tran #                                                                                        Date Cteared
o3t28t2014                    1021          backflow - BackflowTesting Services, lnc                  424.60            o4f3012a14
43t28t20't4                   1022          comed - Commonwealth Edison                               141.24            04i3Ot2A14
a3nADA14                      102?          eri{aco - Eric Jacobson                                   11   5.28         04/34t20t4
03t28t2014                    1424          villalgo - Village ofAlgenquin                           312.40             o4l3u2a14
04111tzg1.4                   1025          comed - Commonwealth Edison                                56.04            a4130t2014
44l11t2A14                    102S          flrcmana - FL RC Managernent, LLC                         30.24             0413012014
a4n1tzAU                      1027          sociev - Society hsurance                               1,037.62            uft0av4
0412412014                    1428          aasecur - A&A Securiiy Safety Suppy, lno                 275.26             o4t30t2414

Totel    Olearad Checks                                                                 2,Sg?.6E



Cleared Deposits


                                                                                                                  Date Cleared
04t0212014                1s                                                                       4,481.00            84t30t2014
M|02t2014                 14                                                                       4,046.00            04t30t2014
o4l08na14                                                                                          3,518.00            4413012014
a414t20"t4                16                                                                       3,717,44            i4leoa014

Total    Cleared Deposit$                                                              16,$62.00


Cleared Other ltems


                                                                                                                  Date Cleared
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 23 of 36 PageID #:581


                                      124-136 S Randall Rd       Property                           ost12!2a$

                                       Bank Reconciliation Report
                                                  a4BOt2014
                                                    462&440747




Cleared Other ltems


Date              Tran     #             Notes                                 Amount      Dale Cleared
0413012014            JE   1773            BankFees                                 -40.80      a413012014


Total   Cleared Other ltems



Cleared Book Reconciling ltems


Date              Tranf                  Notes                                 Amount     Date CtearBd

Ogl31l2}14            deposits   in        deposits in transit                    -9.427.00 o4l3u2a',4
Total   Cleared Book Reconclling ltems                                      -9,427.00
                     Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 24 of 36 PageID #:582



 Corporate Business Account Statement




                                                                                                                                        Account   uumber:          4G28U-01,17

                                                                                                                                        Page I of ?
                                   For tlle period 04/0 U2Al4     $   04fi012014
                                                                                                                                        Numherofenclosures: 0
                                                                                                                                        Tax ID Nrrmber: 2?-1986801
                                   FRONTI,INE REATT ESTATE
                                   PARTNERS LLC                                                                                         G     ForClientServices:
                                   707 SKOKTE BLVD STE 580                                                                                    Call l-800-669-1518
                                   IT0RTHBROOK               1L 60062*2S55                                                              m     Visit us at PNC-conr-/treasw


                                                                                                                                        ffi   Write to: Treas Mgrnt Client Care
                                                                                                                                              One Financial Parkway
                                                                                                                                              L<rator Zl-Yb42-03-1
                                                                                                                                              Kalanazoo, tvll49009


 Account Summary Information

 Balance Surnrnary
                                                    Beginning                          Deposits and                      Checks and                               Ending
                                                      balarce                          other credit-s                    other debits                             balance
                                             34,224.A6                                ,6,662-00                        2!$.4e                             44,448.58

Doporits and Qther Credit-t                                                                             Checks and Other Dabits
Description                                             Ircms                                 Amount    Description                                                 ltems                       Amount
Deprxits                                                      J                      16,662.00          Checks                                                        B                   2,397.68
National I-ockbor                                            0                                0.00      Returned Items                                                0                         0.00
ACH Credia                                                                                    0.00      ACH Debits                                                    0                         0.00
Funds Transfers In                                           0                                0.00      Funds Transfers Out                                           0                         0.00
Tratle Serviccs                                              0                                0.00      Tmde Services                                                 0                         0.00
Investments                                                  0                                0.00      Investnents                                                   0                         0.@
Zero Balance Tran.stbrs                                      0                                0.00      Zero Balance Transfers                                        (,                        0.00
Adjusnnents                                                  0                                0.00      Adjustrnents                                                  0                         0.00
Other Credits                                                0                                0.00      Other Debits                                                   I                      40.80
?otal                                                        3                       16,662"0{)         Total                                                         9                  2,413.48

Ledger Balance
Date                             Ledger balance                          Datc                             Lcdger balance                          Dale                           bdger   balance
04/01                            29,W7.66                                04,09                             42,171.54                              Ml27                           M,764.@
04/03                            29,766.42                               un6                               42,141.30                              0/'D8                          44.489.38
04n7                             38,653.54                               04i18                             45,802.26                              0+fio                          44,448"58




Deposits and Other Credils

Doposits                                                              J tmsactions lbr    a total of $ 16,662.00

Date                                                                  Tranraction                                                                                                            Reference
posted                                                 AmfiIrtt       description                                                                                                              number
M]D1                                              9,4n.&              Deposit                                                                                                                031877888
MM                                                3,518.00            Deposit                                                                                                                034661553
04/r 8                                            3,7t7.{n            Deposir                                                                                                                038142805


Checks and Other Debits

Checks and Sutrstitufi) Cheeks                                                   I   transaction$ for a total of S 2,392.68
DBte       Check                                   Reference          Date       Check                                   Reforcnce        Date           Check                               I{.eference
posted     number                   Amount           number           posted     numbe    r                Amount             numbrr      gxted          number              Amornt            number
04f)l      1024                      312.4$       ASO?35252           o4/0]                                  424.6J      0968rtt468       Ml16           LA26                    30.24       0S5585609
04/03      1022                       L4t.U       095361098           04tw       rc23                        115.28      089152513        04/18          1025                    56.04       L0&92'.t5219




Checks continued on next page
                   Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 25 of 36 PageID #:583


CJrporate Business Account Sbatement

L:RONTLINEREAL ESTATE
                                                                                                                               For     lhe period 04./01t2014 to 04130D014
PARTNERS LLC
                                                                                                                               Account     rumben        46"284+W4l

                                                                                                                               Pnge 2 af 2


Checks and Other Debits                     -   continued
Checks and Substhute Checks                 - continued                 8 transactions   for   a   toul of   $ 2,392.68
Date      Check                         Refercrpe   I   Date            Check                                        Refercnre
posted    number              Amounl     number     I   posrcrl         nurber                        Amount              [umber
                                                                                                                                   I
                                                                                                                                   I
04al      1027                L437.62   0s9s23691   I   &m8             1028                            275.26 $0214427            |


0tter Debits                                            1   transaction for a rotal of $ 4O.80
Dale                                                    'l"ransaction
posted                                                                                                                                                                            Refer:ence
                                          Amourt        descriptio$
                                                                                                                                                                                    number
Mno                                      40.80          Corpo,rate Accounr Analysis Charge
                                                                                                                                                                       0000000000000039921
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 26 of 36 PageID #:584




                                       124136 Randalt Rd - Sec Dep
                                        Sank Reconciliation Report
                                                 04t30t2014
                                                  50-50076593



 Balance Per tsank $btement as of O4t3Ot2O14                         7,567.00

                                    Reconciled Bank Balance                     7,567.00




 Balance per GL as ot 041301?;014                                    7,567.00

                                    Reconciled Balance Per G/L                  7,567.00




 Difference                                                                          0.00
          Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 27 of 36 PageID #:585
                                                                       -{.i}
                                                                  F'IRSTMERIT.
 Firs{M(ri[ I]ark, N.A.                                                   Bank
 295 IrimlMerir Clircle                                                                                                             Page   I o['2
 Alnnn Ohio 44107-235,

                                                                                                                                 St*lenrcnt Prriorl
                                                                                                                                  Apr 1,2014 to
                                                                                                                                   Apr 30,   201 4
                                                                                                                                 Primarl' Accottnl.
                              FL RC MANAGEMENT LLC                                                                                 .10 5007 6591
                              124 136 S RANDAI-L RD PROPERTY
                              707 SKoKIE BLVD STE 580                                                                                  Qucsfions?
                                                                                                                                     1-888-283-2303
                              NORTHBROOK             IL     60062


                                                                                                                                       80528      -   3L

                                                                                                                                              L




                                                                   llcposit Accounts
  REALITY BUSINI]SS PR{)                                               50 5007 6593                                                    7,567.00
  llbtal lleposit Accorrnts                                                                                                            7,561.0{,


RIIAI,ITY I}USINIIS$ PRO                                     l,L tl.C IvlANnGllMnNT LLt:
s0 50{}7 6593                                                 l?4135 S IIANDALL ItD PIl.0PIrltlY



                                                                  Accorrrrl Sunrnrary
                          Begirrnirrg lSalance as olApr 1,2014                                                 7,567.00
                                 I    Deprsits and ()'cdits                                                       15.58
                                 I    Wilhdrau,als and Dcbits                                                     .),1.58
                          Iinding llalancc      as   ol'Apr 3A,2014                                            7,"567.00



                                                                  0thcr   I ransactiolrs
  Dalc      Descri;rlion                                                                                       Wilhdralyals             Deposits
 Apr t4     ANALYSIS Flii:i FOII MARCI,I 2014                                                                           15..t8
 Apr l5     ACC]OUNI AI\TALYSIS REFUNI)                                                                                                      3-i.58


                                                             llnily llalance l nlirrmalion
 Datc                                llalancc        I natc                            Bahnrc     I Datc                             Balanre
 Mar ll                              7,561.00        I   Apr l+                        7,53t.42   | ,tpr t.i                         7,5ffi.0A




                                     lior f)eal'arrd tlearing hnpaired (ITYfl-DD) Call I-800-572-6040
              Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 28 of 36 PageID #:586




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                    Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 30 of 36 PageID #:588

Aied Receivables Report
Detail hy Resident
Prop€rrty) L24-136 S Randall Rd, Alqonquio (1.?4-1.3
Ilans thrcugh: 5l?01+
Arlo As Df: li31l?-414
                                                                                                                                              Pa!:le   I
                                                       Total Unpaid      0-30          31-60     61-90     Over 90
Unit          Resident                  Charge Code        Charges        days           days     days        days    Prepayments           Balance


L24-L36r - 124-136 S Randall Rd, Algonquin
126           atkinson       Atkinson Eye Care -               0.00        0.00           0.00     0.00        0.00         -0.32               -0.32
                             RR]V
L3Z           elfuego        El Fuego Tacos &              5,443.45        0.00           0.00     0.00    5,443.45          0.00           5143.45
                             Burritos
136           cleanpre       Clean & press                     0.00        0.00           0.00     0.00        0.00       -335.87            -335.87

136-A         crystall       Crystal Lake Shoe             1,000.00     500.00         500.00      0.00        0.00          0.00           1,000.00
                             Repair
136-8         voguecle       Vogue Cleaners               14,544.00    7,272.00    7   t?7?.00     0.00        0.00          0.00          L4,544.00



Total 124-136r                                           20,987.45    7,772.O0    7,772.OO        0.00    5,443.45       -336.19         20,65t,26
Total                                                    20,987,45    7,772,OO    7,772,OO        0.00    5,443,45       -336.19         20,65,,26




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Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 32 of 36 PageID #:590




                EXHIBIT F
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 33 of 36 PageID #:591



                       Frontline Real Estate Partners


 PNC Bank                                                              INVOICE
 I N. Franklin, Suite 2150                                                   R5002
 Chicago, IL 60606
 Re: Randall Road Joint Venture Receivership                        lune 16,2014



 FOR PROFESSIONAL SERVICES RENDERED FOR THE PERIOD 4/I/I4 _ 513'.114


 Receiver's Fees:

          Period           Monthlv Fee              Proration     Fees Due
     4/1/14- 4t30t14                           x        30130
     slllt4 - sl3ut4                           x        31131
         TOTAL



 Total Receiver's Fees                                           $4,000.00




 Additional Charges:

        None




 Total Amount Due                                                s4,000.00




                           Frontline Real Estate Partners, LLC
                             707 Skokie Boulevard Suite 580
                                   Northbrook,     lL   60062
Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 34 of 36 PageID #:592




                EXHIBIT G
    Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 35 of 36 PageID #:593




                      IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PNC Bank, National Association, successor in        )
interest by merger to National City Bank, successor )
in interest by merger to MidAmerica Bank, FSB       )
                                                            ) No 13 cv 07271
                                       Plaintiff.           )
                                                            )   Property Address:
                              vs.                           )   124-136 S. Randall Road
                                                            )   Algonquin, Illinois 60102
Randall Road Joint Venture, an Illinois general       )
Partnership; Chicago Title Land Trust Company,        ) Assigned Judge: Robert M. Dow, Jr,
successor trustee to Amcore Investment Group as       ) Magistrate Judge: Mary M. Rowland
Trustee Under Trust Agreement Dated December 15, )
1993 and Known as Trust Number 3504; Jeffrey R.       )
Dunham; Robert R. Dunham; Power Pizza Company )
d/b/a Jake's Pizza, an Illinois domestic corporation; )
Phoenix Leasing Incorporated, a foreign corporation; )
                                                            )
                                       Defendants.          )

                                              ORDER

       THIS MATTER coming on to be heard before this Honorable Court on approval of the
Third Report of the Receiver, and the Court being fully advised in the premises;

         IT IS HEREBY ORDERED THAT:
     L   The Third Report of the Receiver is approved including all fees and expenses of the
         Receiver as detailed in the Report;

    2. The Receiver's Fourth Report shall cover the period through
         2014 and shall be filed by                                  ,2014;

    3. The approval hearing for the Fourth Report of the Receiver shall be on
         2014   at           in Courtroom 1919 of the United States District Court For The Northern
         District of Illinois, 219 South Dearbom Street, Chicago, IL 60604;

    4.   The tenant rent agreement attached as Exhibit B of the Report is hereby approved.

                                              ENTER:
                                              JUDGE
                                              Dated:
Joshua E. Joseph / Receiver
707 Skokie Boulevard, Suite 580
Northbrook, IL 60062
(847)770-6262
    Case: 1:13-cv-07271 Document #: 59 Filed: 06/16/14 Page 36 of 36 PageID #:594




                       IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 PNC Bank, National Association, successor in        )
 interest by merger to National City Bank, successor )
 in interest by merger to MidAmerica Bank, FSB       )
                                                             ) No 13 cv 01271
                                         Plaintiff.          )
                                                             )   Property Address:
                              vs.                            )   124-136 S. Randall Road
                                                             )   Algonquin, Illinois 60102
Randall Road Joint Venture, an Illinois general       )
Partnership; Chicago Title Land Trust Company,        ) Assigned Judge: Robert M. Dow, Jr.
successor trustee to Amcore Investment Group as       ) Magistrate Judge: Mary M. Rowland
Trustee Under Trust Agreement Dated December 15, )
1993 and Known as Trust Number 3504; Jeffrey R.       )
Dunham; Robert R. Dunham; Power Pizza Company )
d/b/a Jake's Pizza, an Illinois domestic corporation; )
Phoenix Leasing Incorporated, a foreign corporation; )
                                                             )
                                        Defendants.          )

                                                ORDER

       THIS MATTER coming on to be heard before this Honorable Court on approval of the
Third Report of the Receiver, and the Court being fully advised in the premises;

          IT IS HEREBY ORDERED THAT:
     1.   The Third Report of the Receiver is approved including all fees and expenses of the
          Receiver as detailed in the Report;

    2. The Receiver's Fourth Report shall cover the period through
          2014 and shall be filed by                                   2014;

    3.    The approval hearing for the Fourth Report of the Receiver shall be on
          2014 at             in Courtroom I9l9 of the United States District Court For The Northern
          District of Illinois, 219 South Dearborn Street, Chicago, lL 60604;

    4.    The tenant rent agreement attached as Exhibit B of the Report is hereby approved.

                                                ENTER:
                                                JUDGE
                                                Dated:
Joshua E. Joseph / Receiver
707 Skokie Boulevard, Suite 580
Northbrook, IL 60062
(847) 770-6262
